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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

  TREVEL JACKSON                                                 CIVIL ACTION


  VERSUS                                                         NO: 21-740


  UNITED FINANCIAL CASUALTY                                      SECTION: "A" (4)
  CO., ET AL.


                                 ORDER AND REASONS

       The following motion is before the Court: Motion to Remand (Rec. Doc. 6) filed

by the plaintiff, Trevel Jackson. The defendant, United Financial Casualty Co. (“UFCC”),

opposes the motion. The motion, noticed for submission on June 9, 2021, is before the

Court on the briefs without oral argument.

       Plaintiff initiated this lawsuit in state court to recover for personal injuries and

property damage that he sustained in a motor vehicle collision with Ms. Nicole M.

Vecchio on the Danzinger Bridge in Orleans Parish. At the time of the incident Plaintiff

was engaged in ridesharing operations for UBER. (Rec. Doc. 9-1, Petition ¶ 6). Based

on the allegations in the petition, Ms. Vecchio was completely at fault for the accident

and her liability insurer ultimately settled with Plaintiff thereby removing the non-diverse

parties from the case. UFCC, UBER’s UM carrier, removed the case to this Court. The

petition alleges numerous elements of damages, and as of the time of removal Plaintiff

had already undergone significant medical treatment that he claims to be causally

related to the accident with Ms. Vecchio. UFCC contends that those pre-removal

medical bills total about $32,000.00, that Plaintiff is continuing to receive medical

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treatment, and that surgery on both shoulders has been recommended.

       Plaintiff moves to remand the case arguing that UFCC has not met its burden of

establishing that the amount in controversy was satisfied at the time of removal.

       In Luckett v. Delta Airlines, Inc., the Fifth Circuit summarized the analytical

framework for determining whether the amount in controversy requirement is met in

cases removed from Louisiana state courts where specific allegations as to damage

quantum are not allowed. 171 F.3d 295, 298 (5th Cir. 1999). In such cases, the

removing defendant, as the party invoking the federal court=s jurisdiction, bears the

burden of proving, by a preponderance of the evidence, that the amount in controversy

exceeds $75,000. Id. (citing De Aguilar v. Boeing Co., 11 F.3d 55, 58 (5th Cir. 1993)). As

the Fifth Circuit explained:

       The defendant may make this showing in either of two ways: (1) by
       demonstrating that it is "facially apparent" that the claims are likely above
       $75,000, or (2) by setting forth the facts in controversy B preferably in the
       removal petition, but sometimes by affidavit B that support a finding of the
       requisite amount.

Id. (citing Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995)).

       The Court is persuaded that UFCC has established that the amount in

controversy was satisfied at the time of removal. Plaintiff specifically alleges a host of

elements of damages, and in light of the extensive medical record that UFCC has

provided, which includes a recommendation for surgery, the settlement with the

tortfeasor and her insurer do not persuade the Court that the amount of damages

remaining in dispute is $75,000.00 or less. Plaintiff settled his claims with Ms. Vecchio

and her insurer for her policy limit, which was only $15,000.00. (Rec. Doc. 9-4,

Release). The ongoing medical treatment and surgical recommendation are included in
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the facts alleged in the notice of removal. (Rec. Doc. 1-1 ¶ 12).

       Accordingly, and for the foregoing reasons;

       IT IS ORDERED that the Motion to Remand (Rec. Doc. 6) filed by the plaintiff,

Trevel Jackson is DENIED.

       June 15, 2021


                                                   JAY C. ZAINEY
                                           UNITED STATES DISTRICT JUDGE




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